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                                                                                        United States District Court
                                                                                            Southern District of Texas

                                                                                                ENTERED
                                 UNITED STATES DISTRICT COURT                                  June 14, 2022
                                  SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                      HOUSTON DIVISION

 ROCHELLE SIMS, individually, and on §
 behalf of all other individuals similarly §
 situated,                                 §
                                           §
              Plaintiff,                   §
                                           §
 v.                                        §                    Case No. H-21-4225
                                           §
 MEMORIAL        HERMANN        HEALTH §
 SYSTEM, FMA ALLIANCE, LTD., and §
 G&G ORGANIZATION, LTD. D/B/A PFS §
 GROUP,                                    §
                                           §
              Defendants.                  §

                             ORDER EXTENDING REPLY DEADLINE
                            AND RESETTING INITIAL CONFERENCE

            Defendant Memorial Hermann Health System has filed an unopposed motion to: (1) extend

the defendants’ deadline to reply in support of their pending motion to dismiss the plaintiff’s live

complaint to July 8, 2022; and (2) reset the Court’s June 28, 2022 initial conference to July 18,

2022 or any date thereafter. The motion is granted. The Court therefore orders that:

    •       the defendants’ deadline to reply in support of their pending motion to dismiss is July 8,

            2022; and

    •       the Court’s initial conference is reset to July 22, 2022, at 11:20 a .m. by Zoom.

    •       Signed on this 14th day of June, 2022.



                                                               Lee H. Rosenthal
                                                       Chief United States District Judge




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